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                  EXHIBIT 1
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Civil Case No. 1:14-cv-02887-JLK-MEH

 ALEJANDRO MENOCAL,
 MARCOS BRAMBILA,
 GRISEL XAHUENTITLA,
 HUGO HERNANDEZ,
 LOURDES ARGUETA,
 JESUS GAYTAN,
 OLGA ALEXAKLINA,
 DAGOBERTO VIZGUERRA, and
 DEMETRIO VALERGA,
 on their own and on behalf of all others similarly situated,

          Plaintiffs,

 v.

 THE GEO GROUP, INC.,

          Defendant.


   DECLARATION OF ADRIENNE SCHEFFEY IN SUPPORT OF DEFENDANT THE
  GEO GROUP, INC.’S RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                               JURY VIEW


          I, Adrienne Scheffey, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

 follows:

          1.      I am an attorney for defendant The GEO Group, Inc. (“Defendant” or “GEO”) in

 the above-captioned matter.

          2.      I submit this Declaration in support of GEO’s Response in Opposition to Plaintiffs’

 Motion For Jury View.




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           3.     Attached as Attachment A are true and correct copies of excerpts of Dawn Ceja’s

 deposition transcript dated August 5, 2020. Per the Court’s order, ECF 320, this document is filed

 as Exhibit 2 to GEO’s Motion.

           4.     Attached as Attachment B is a true and correct copy of a letter from ICE to the

 Parties in the above-captioned case that was sent on March 27, 2020. Per the Court’s order, ECF

 320, this document is filed as Exhibit 3 to GEO’s Motion.

           5.     Attached as Attachment C is a true and correct copy of emails between Anne Rose

 and the Parties regarding a jury view. Impertinent information has been redacted. Per the Court’s

 order, ECF 320, this document is filed as Exhibit 4 to GEO’s Motion.

           6.     On August 5, 2020, the deposition of Ms. Ceja took place and the undersigned

 defended her deposition. That deposition was taken by one of Mr. Scimone’s co-counsel, Juno

 Turner.

           7.     On August 4, 2020, the undersigned was preparing Ms. Ceja for her deposition in

 this case.

           Executed this 28th day of August, 2020, in Denver, Colorado.

                                                  s/ Adrienne Scheffey
                                                  Adrienne Scheffey




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